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15
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
      UNITED STATES OF AMERICA,                No. SA CR 19-061-JVS
17
                 Plaintiff,                    [PROPOSED] WRIT OF HABEAS CORPUS
18                                             AD PROSEQUENDUM
                       v.
19
      MICHAEL JOHN AVENATTI,
20
                 Defendant.
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23          Based upon the application of plaintiff United States of America

24    and for good cause shown, IT IS HEREBY ORDERED that a Writ of Habeas

25    Corpus Ad Prosequendum issue for defendant Michael John Avenatti as

26    requested by the government.

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 1    IT IS SO ORDERED.

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 3    DATED:                                   ______________________________
                                               HONORABLE JAMES V. SELNA
 4                                             UNITED STATES DISTRICT JUDGE
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